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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION


 UNITED STATES OF AMERICA

V.                                            CRIMINAL ACTION FILE

 JIM C. BECK,                                  NO. 1:19-CR-184-MHC-JSA


       Defendant.



                                       ORDER

      This action comes before the Court on the Report and Recommendation


("R&R") of Magistrate Judge Justin S. Anand [Doc. 73] recommending that

Defendant's Motion to Suppress Evidence and Fruits Seized Pursuant to the Search


Warrant Directed to Google ("First Mot. to Suppress") [Doc. 31] and Second

Motion to Suppress the "New" Email Search Warrant ("Second Mot. to Suppress")


[Doc. 43] be denied. The Order for Service of the R&R [Doc. 74] provided notice

that, in accordance with 28 U.S.C. § 636(b)(l), the parties were authorized to file

objections within fourteen (14) days of the receipt of that Order. After receiving an

extension of time to file his objections [Doc. 76], Defendant filed his "Objections

to the Report and Recommendation Denying Motions to Suppress First and Second

Search Warrants ("Def/s Objs.") [Doc. 79].
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I. LEGAL STANDARD

      In reviewing a Magistrate Judge's R&R, the district court "shall make a de

novo determination of those portions of the report or specified proposed findings


or recommendations to which objection is made." 28 U.S.C. § 636(b)(l). "Parties

filing objections to a magistrate's report and recommendation must specifically

identify those findings objected to. Frivolous, conclusive, or general objections

need not be considered by the district court." United States v. Schultz, 565 F.3d


1353, 1361 (llth Cir. 2009) (quoting Marsden^Moore, 847 F.2d 1536, 1548

(11th Cir. 1988)). If there are no specific objections to factual findings made by

the Magistrate Judge, there is no requirement that those findings be reviewed de

novo. Garvey v. Vaushn, 993 F.2d 776, 779 n.9 (1 1th Cir. 1993) (citations

omitted). Absent objection, the district court judge "may accept, reject, or modify,


in whole or in part, the findings or recommendations made by the magistrate


judge," 28 U.S.C. § 636(b)(l), and may accept the recommendation if it is not

clearly erroneous or contrary to the law. FED. R. CRIM. P. 59(a). In accordance


with 28 U.S.C. § 636(b)(l) and Rule 59 of the Federal Rules of Criminal

Procedure, the Court has conducted a de novo review of those portions of the R&R


to which Defendant objects and has reviewed the remainder of the R&R for plain

error. See United States v. Slay, 714 F.2d 1093, 1095 (11th Cir. 1983).


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II. PROCEDURAL HISTORY

      An indictment initially was returned against Defendant on February 14,


2019. Criminal Indictment [Doc. 1]. Defendant has been charged in a

Superseding Indictment with twelve counts of wire fraud in violation of 18 U.S.C.


§ 1343, thirteen counts of mail fraud in violation of 18 U.S.C. § 1341, fourteen

counts of money laundering in violation of 18 U.S.C. § 1957, and four counts of


aiding in the filing of a false tax return in violation of 26 U.S.C. § 7206(2).

Superseding Criminal Indictment [Doc. 22].

      On April 25, 2019, prior to the original indictment in this case, the

Government sought a warrant to search information associated with the email


address jimcbeck@gmail.com. Application & Aff. for Search Warrant (filed

Apr. 25, 2019) [Doc. 31-1] at 6-7. The affidavit attached to the warrant application

was completed by Steven T. Dunn ("Dunn"), Special Agent with the Federal

Bureau of Investigation ("FBI"), who described alleged illegal activity associated

with the email account from as early as February 22, 2013, until as late as June 15,


2018. Id at 13. A United States Magistrate Judge issued the warrant on April 25,

2019, which required Google, Inc. to disclose to the Government, in pertinent part:


the contents of all emails associated with the account; records or other information


regarding the identification of the account; records or other information stored by
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anyone using the account; records relating to financial information and business


operations; and records and content relating to any communication from the


subject email address and other accounts associated with specified persons or


entities. Search Warrant ("April 25th Search Warrant") [Doc. 31-1] at 2-5. The

April 25th Search Warrant itself did not contain any temporal limitation for the

production of e-mails.


      When Dunn executed the April 25th Search Warrant, he logged into

Google's web portal and completed the required fields, which included a date

range from January 1, 2013, through January 13, 2019. Feb. 13, 2020, Hr'g Tr.


("Tr.") [Doc. 64] at 11-12. Google provided the information to Dunn in

compliance with the April 25th Search Warrant electronically on May 1,2019. Id.

at 12-13. According to the Government, "[a] 11 information produced by Google in


response to the April 25, 2019 search warrant was submitted to FBI Special Agents

Ashley Chavez and Amanda Lee in order for Agent Chavez and Agent Lee to

review the materials and filter out any potentially privileged communications."




1 When Dunn prepared Attachment B to his affidavit, which identified the
"Particular things to be seized" (which also was attached to the April 25th Search
Warrant), he omitted a date range or restriction, described by him as an
"oversight." Tr. at 10.
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Gov't's Resp. to Def.'s Mot. to Suppress Evid. and Fruits Seized Pursuant to the


September 13, 2019 Search Warrant Directed to Google [Doc. 47] at 3. In

addition, the Government represents that "no member of the prosecution team . . .


has reviewed any of the information produced by Google as a result of the

April 25, 2019 search warrant." IcL at 3-4; see also Tr. 14-16, 20-23 (testimony by


Dunn that neither he nor any other FBI agent, member of the United States

Attorney's office, or anyone else to Dunn's knowledge reviewed the content of the


information produced in response to the April 25th Search Warrant prior to his

subsequent application for a second search warrant).


      On September 6, 2019, Defendant filed his First Motion to Suppress,

contending that the April 25th Search Warrant was an unconstitutional general

warrant that had no date restrictions. First Mot. to Suppress at 13. After this


motion was filed, Dunn submitted an application for a second search warrant,


"[e]ssentially, due to the fact that the attachment B and [April 25th] search warrant

[ ] did not specify a date range." Tr. at 17. On September 13, 2019, another


Magistrate Judge issued a search warrant substantially similar to the April 25th

Search Warrant, except for the specific requirement that the information be


produced "for the time period from November 22, 2012 to September 15, 2018."

Search Warrant ("September 13th Search Warrant") [Doc. 43-1].
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      On November 6, 2019, Defendant filed his Second Motion to Suppress,


contending that the April 25th Search Warrant was unconstitutionally overbroad

and the September 13th Search Warrant was based on the fruits of the earlier

unlawful search. Second Mot. to Suppress at 4-8. In response to the Second


Motion to Suppress, the Government stated as follows:


      The information produced by Google in response to the second search
      warrant has been submitted to new filter agents. These agents, FBI
      Special Agents Paul Costa and Greg Rice, are currently reviewing the
      information produced by Google and are filtering out any potentially
      privileged communications. This filter review is supervised by AUSA
      Angela Adams. The prosecution team will not review this information
      until all potentially privileged communications have been removed.


      The prosecution team has no plans to ever review or in any way utilize
      the information provided by Google in response to the challenged April
      25, 2019 search warrant. Therefore, there will be no evidence to
      suppress with regard to the April 25, 2019 search warrant.


Gov't's Resp. to Def.'s Second Mot. to Suppress [Doc. 47] at 5-6.


      On July 30, 2020, Judge Anand issued his R&R. With respect to the April

25th Search Warrant, Judge Anand calls into question the validity of the warrant

but recommends that the First Motion to Suppress be denied as moot "because the


government has demonstrated that the prosecution team has not reviewed the


results of that warrant, and the government has certified that it will not use—i.e.,


will essentially self-suppress—this information in this case." R&R at 10-12. With


respect to the September 13th Search Warrant, Judge Anand points out that
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"Defendant does not dispute that SA Dunn and the rest of the prosecution team

were unaware of the contents of any of the information previously supplied by

Google, at the time of the September 13 warrant." R&R at 16. Judge Anand then


rejects Defendant's assertion that the fact that the prosecution team had knowledge


that Google had produced "some" requested information in response to the April

25th Search Warrant (even though they had no knowledge of any of the specific

information produced) taints any future legal process to obtain that specific

information. Id. at 17. Regardless of any infirmity in connection with the issuance


of the April 25th Search Warrant, Judge Anand concludes that it is appropriate to

apply the independent source doctrine and deny suppression of the information

provided by Google in response to the September 13th Search Warrant. Id. at

17-21.


III. DEFENDANT'S OBJECTIONS

         A. The April 25th Search Warrant

         Defendant takes exception to Judge Anand questioning the validity of the

April 25th Search Warrant but failing to recommend that Defendant's First Motion

to Suppress be granted because the warrant imposed no temporal limitation and is


not "saved" by application of the good faith reliance doctrine. Def.'s Objs. at 5-13.


However, Defendant does not dispute that the prosecution team, which has no


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knowledge of the specific information produced in response to the April 25th

Search Warrant, has agreed not to use any of that information in this case.


Consequently, it is unnecessary to grant Defendant's First Motion to Suppress


because there is no longer any information to suppress with respect to the


production made by Google in response to the April 25th Search Warrant. Courts

in this district have held that where the Government agrees not to introduce any


evidence from a challenged search, a motion to suppress such evidence becomes


moot. See United States v. Brounson, No. 1:15-CR-00366-ELR-JFK, 2016 WL


4472971, at *1 (N.D. Ga. Aug. 23, 2016) (denying as moot the defendant's motion

to suppress based on the government's agreement not to use the challenged


statements); United States v. Harris, 1:14-CV-251-AT-JSA, 2015 WL 13850000,


at *7 (N.D. Ga. May 29, 2015) (denying motion to suppress as moot where "the


Government has vowed to self-suppress the allegedly offending [ ] calls, [so] the

Defendants have received the only relief they would be entitled to."); United States

v. Bryson, No. 1:13-CR-09-ODE-GGB, 2013 WL 5739055, at * 11 (N.D. Ga.


Oct. 21, 2013) (denying the defendant's motion to suppress statements as moot


where the government agrees not to use the statements in its case-in-chief); United


States v. Dixon, No. L12-CR-205-ODE-ECS, 2013 WL 4718934, at *1 (N.D. Ga.


September 3, 2013) (denying motion to suppress as moot due to the government's
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announcement that it would not seek to introduce any evidence from a cell phone);


United States v. Huehes, No. 2:08-CR-0019-RWS-SSC, 2008 WL 6653543, at *1

(N.D. Ga. Oct. 3, 2008), report and recommendation adopted, 2009 WL 2422850


(N.D. Ga. 2009), affd, 410 F. App'x. 285 (11th Cir. 2011) (denying suppression

motion as moot upon the government's announcement that it did not intend to use


evidence seized in search of the defendant's residence). Defendant's objection to


Judge Anand's recommendation that his first motion to suppress be denied as moot


is therefore OVERRULED.

      B. September 13, 2019 Search Warrant


      Defendant objects to the R&R's reliance on the independent source doctrine


to justify the recommendation to deny Defendant's Second Motion to Suppress.


Def.'s Objs. at 14. Defendant contends that, contrary to Judge Anand's finding,


the September 13th Search Warrant was not independent of the April 25th Search

Warrant and to apply the doctrine would encourage law enforcement officers to


obtain evidence in an illegal manner. Id. at 14-17. Even if the independent source


doctrine is applied, Defendant contends that the September 13th Search Warrant is


still invalid because the first warrant was defective for failing to have a temporal

limitation and Dunn was prompted to seek a second warrant by what he learned


from the initial illegal search. Id. at 19-25.
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      "The independent source doctrine allows admission of evidence that has

been discovered by means wholly independent of any constitutional violation."

United States v. Maxi, 886 F.3d 1318, 1329 (llth Cir. 2018) (quoting ?^_

Williams, 467 U.S. 431, 443 (1984)). The Eleventh Circuit analyzes whether an

independent source exists to support a search warrant in two steps:


      First, we excise from the search warrant affidavit any information
      gained through the arguably illegal initial search and determine whether
      the remaining information is enough to support a probable cause
      finding. Second, if the remaining information establishes probable
      cause, we determine whether the officer's decision to seek the warrant
      was prompted by what he had seen during the arguably illegal search.
      If the officer would have sought the warrant even without the preceding
      illegal search, the evidence seized under the warrant is admissible.


Maxi, 886 F.3d at 1329-30 (quoting United States v. Bush, 727 F.3d 1308, 1316

(11th Cir. 2013) (per curiam) (quotations and citations omitted, alterations

adopted). The rationale for the independent source doctrine is that the government

should be put "in the same, not a worse, position tha[n] [it] would have been if no

. . . error or misconduct had occurred." Murray v. United States, 487 U.S. 533, 537


(1988) (quoting Nix, 467 U.S. at 443)). Application of this two-step process shows

that the evidence obtained in response to the September 13th Search Warrant is


clearly admissible based upon the independent source doctrine.


      First, assuming that the April 25th Search Warrant was illegally obtained,

what information was included Dunn's application for the September 13th Search
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Warrant that was gained through the arguably illegal earlier warrant? The answer

is: none. This Court has compared in detail Dunn's affidavits in support of the


April 25th Search Warrant and the September 13th Search Warrant and finds that

the assertions supporting probable cause are nearly identical and no information


obtained from the Google production in response to the April 25th Search Warrant

was referenced in the application for the September 13th Search Warrant:

      • The "Background" section ofDunn's affidavit in support of the April


             25th Search Warrant [Doc. 31-1 at 12-14] is almost identical to the

             "Investigation" section ofDunn's affidavit in support of the


             September 13th Search Warrant [Doc. 43-1 at 21-23]. None of this


             information was obtained from the production in response to the April


             25th Search Warrant.


      • The "Additional Facts in Support of Probable Cause" sections of


            Dunn's affidavit in support of the April 25th Search Warrant [Doc.

             31-1 at 14-20] and ofDunn's affidavit in support of the September

             13th Search Warrant [Doc. 43-1 at 24-31] are identical. None of this




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             information was obtained from the production in response to the April

             25th Search Warrant.2


             The "Google Records" section ofDunn's affidavit in support of the


             April 25th Search Warrant [Doc. 31-1 at 21-23] was reorganized into

             the "Background Concerning Email" section ofDunn's affidavit in


             support of the September 13th Search Warrant [Doc. 43-1 at 32-37]

             with some amplification. None of this information was obtained from


             the production in response to the April 25th Search Warrant.


             Dunn's affidavit in support of the September 13th Search Warrant


             contains a section entitled, "Disclosure of Previous Search Warrant"


             [Doc. 43-1 at 37-39]. This section details the facts that Dunn

             presented a similar affidavit to the Magistrate Judge on April 25,

             2019, which was served on Google that same day and led to the

             production of information; that Dunn has not reviewed the


             information produced in response to the April 25th Search Warrant;

             that the response was submitted to FBI agents to filter out any


             potential privileged information; that filter agents did not complete



2 In his objections, Defendant does not challenge these facts as insufficient to
establish probable cause to search the e-mail account in question.


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             that initial review; that no member of the prosecution team was


             exposed to the information produced in response to the April 25th

             Search Warrant; that Defendant filed a motion to suppress the


             evidence produced in response to the April 25th Search Warrant

             because of the absence of any temporal limitation; and that the

             application for the September 13th Search Warrant contains such a

             temporal limitation. There is no information contained in this section


             ofDunn's affidavit that was derived from information produced by

             Google in response to the April 25th Search Warrant.


      The next step of the analysis under the independent source doctrine is to

determine whether the decision to seek the September 13th Search Warrant was


prompted by any information obtained as a result of the execution of the April 25th

Search Warrant. Defendant does not dispute the Government's representation that


neither Dunn nor the rest of the prosecution team were aware of the contents of


Google's production in response to the earlier search warrant. Instead, Defendant


asserts that Dunn became aware that Google had e-mails that were produced in




3 Unlike the application for the April 25th Search Warrant, in the "Information to
be seized by the government" section of the application for the September 13th
Search Warrant, Durm sought information for the period from November 22,2012
to September 15, 2018. [Doc. 43-1 at 15.]


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response to the April 25th Search Warrant and this knowledge somehow prompted

his decision to apply for the second warrant. Def.'s Objs. at 17-25.


      This Court's agrees with the Magistrate Judge that the mere fact that Google

responded to the April 25th Search Warrant by producing some information did

not prompt Dunn to apply for the September 13th Search Warrant. R&R at 17-18.

The evidence shows that Dunn applied for the second search warrant in response to


Defendant's motion to suppress information obtained from the first search warrant


because the first warrant failed to contain a temporal limitation. Tr. at 17. As


stated above, there was no additional information sought in the application for the

second search warrant. At the time Dunn made his application for the second


warrant, he knew that "some" information had been produced by Google in


response to the first search warrant. But this knowledge did not prompt any


conduct by Dunn because, based on his experience, he knew prior to the execution


of the first search warrant there would be responsive information produced by


Google from Defendant's email account. See Tr. at 35 ("I've never executed a


search warrant for emails that were nonresponsive." [sic]). The fact that Google


produced some information in response to the April 25th Search warrant did not

prompt Dunn to apply for the second warrant; the motivation in fact was the failure


of the first warrant to include a temporal restriction.


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      Defendant cites United States v. Cioffi, 668 F. Supp. 2d 385 (E.D.N.Y.


2009) to support its position that the independent source doctrine should not apply

to deny suppression of the September 13th Search Warrant as a "poisonous fruit"

of the April 25th Search Warrant. Def.'s Objs. at 22-24. In Cioffi, the district

court found that a search warrant for a defendant's personal email account was


defective for failing to limit the items to be seized to emails containing evidence of

the crimes charged in the indictment. Cioffi, 668 F. Supp. 2d at 396. Unlike in

this case, members of the prosecution team obtained a copy of the account from


Google, "searched the account" and, during an "initial look," reviewed a lengthy


email from the defendant. IcL at 389. The government invoked the "inevitable


discovery" doctrine, under which "unlawfully seized evidence is not suppressed if


'the prosecution can establish by a preponderance of the evidence that the


information ultimately or inevitably would have been discovered by lawful

means.5" Id, at 397 (quoting Nix, 467 U.S. at 444)). But the problem in Cioffi was

that the government's review of the defendant's email impacted the government's


ability to obtain a warrant with precision: "[T]he government's timing still

presents a problem: Having seen the November 23rd Email, the government is now


in a position to obtain a warrant with perfect particularity. There is, in other




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words, no way to purge the taint of its unconstitutionally overbroad search." Id. at


398.


        Cioffi's facts are clearly distinguishable from the facts in this case. Aside

from the fact that there are requirements for the inevitable discovery doctrine to

apply that are not present for the application of the independent source doctrine,4

here, the prosecution did not review any of the emails from Defendant's Google


account prior to obtaining the September 13th Search Warrant. Because Dunn and


the prosecution team were unaware of the contents ofGoogle's response to the


April 25th Search Warrant, there was no ability to alter the application for the

second warrant to better particularize the information sought in Defendant's email


account. In fact, Dunn's application for the second warrant contained no


additional information to support probable cause.




4 For the inevitable discovery doctrine to apply in this circuit, not only does the
government have to establish by a preponderance of the evidence that the
information ultimately or inevitably would have been discovered by lawful means,
but the prosecution also must show that "the lawful means which made discovery
inevitable were being actively pursued prior to the occurrence of the illegal
conduct." United States v. Virden, 488 F.3d 1317, 1322 (llth Cir. 2007)
(emphasis and citation omitted). See also Murray, 487 U.S. at 539 ("The
inevitable discovery doctrine, with its distinct requirements, is in reality an
extrapolation from the independent source doctrine: Since the tainted evidence
would be admissible if in fact discovered through an independent source, it should
be admissible if it inevitably would have been discovered.").


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      This Court does not share Defendant's view that "judicial sanctioning of the


[independent source] doctrine in this case would also encourage incomplete

investigations in the hope that information subsequently discovered would cure a

defective warrant." Defs Objs. at 17. IfDunn or the prosecutors in this case had


reviewed the information obtained through the April 25th Search Warrant to

bolster their probable cause to support or make more particular the information


sought in the subsequent warrant, this Court would have been faced with an


entirely different situation. If this Court accepted Defendant's position, then the

failure to impose a temporal limitation in a search warrant would absolutely bar the

government from ever seeking a second warrant regardless of whether the


government became aware of the information produced as a part of the defective


warrant. Such a holding would place government officials who have no


knowledge of such information in a worse position than they would have been had

no defect occurred, which is contrary to the purpose of the independent source


doctrine. Murray, 487 U.S. at 537.


      Therefore, Defendant's objection to Judge AnancTs applying the

independent source doctrine to deny suppression of the information received


pursuant to the September 13th Search Warrant is OVERRULED.




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IV. CONCLUSION

      Accordingly, after a de novo review of those portions of the R&R to which

Defendant objects, the Court OVERRULES his objections [Doc. 79]. Finding no

clear error in the remaining portions of the R&R, the Court ADOPTS the R&R

[Doc. 75] as the Opinion and Order of the Court.

      It is hereby ORDERED that Defendant's Motion to Suppress Evidence and

Fruits Seized Pursuant to the Search Warrant Directed to Google [Doc. 31] and


Second Motion to Suppress the "New" Email Search Warrant [Doc. 43] are


DENIED.


      IT IS SO ORDERED this /_V_ day of October, 2020.




                                      MARK H. COHEN
                                      United States District Judge




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